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F-..ill in`this information t`o identif ‘ otir'case:.

 

 

 

Debtor 1 Kenneth L. Coons
First Nzune Middle Name Last Name
Debtor 2 Dorothy A. Coons
(Spouse, if H]ing) First Name Middle Name Last Name
United States Bankruptcy Court for the: NORTHERN DlSTRlCT OF lNDlANA [E] Check if this is an amended plan, and
list below the sections of` the plan that
Case number: 18~22596 have been changed

2.1, 2.5, 3.1, 3.2, 3.3, 6.1, 8.1

 

(If` known)

 

 

Official Form 113
Chapter 13 Plan 12/17

:." Notices

 

To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
do not comply with local rules and judicial rulings may not be confirmable.

]n the following notice to creditors, you must check each box that applies

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
You should read this plan carefully and discuss it with your attorney if` you have one in this bankruptcy case. lf` you do not have
an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
Bankruptcy Rule 3015. In addition, you may need to file a timely proof of` claim in order to be paid under any plan.

The following matters may be of` particular importance Debtors must check one box on each line to state whether or not the
plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
will be ineffective if set out later in the plan.

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in Section 3.2, Which may result in @] Included I:] Not Included
a partial payment or no payment at all to the secured creditor

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, I:} Included § Not Included
set out in Section 3.4.

1.3 Nonstandard provisions, set out in Part 8. §§ Included I:] Not Included

 

 

 

 

 

 

§ Plan Payments and Length of Plan
2.1 Debtor(s) will make regular payments to the trustee as follows:

§975 per Nlonth f`or § months beginning October, 2018, then
$1,091.00 per IV|Onth for _5imonths beginning l\/[arch, 2019

Insert additional lines if needed

If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner.
Check all that apply.'
l:l Debtor(s) will make payments pursuant to a payroll deduction order.
I§] Debtor(s) will make payments directly to the trustee.
[:] Other (specif`y method of` payment):

2.3 Income tax refunds.

Check one.
m Debtor(s) will retain any income tax refunds received during the plan term.
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Debtor Kenneth L. Coons Case number

 

Dorothy A. Coons

Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term Within 14 days of filing the
return and Will turn over to the trustee all income tax refunds received during the plan term.

Debtor(s) will treat income refunds as follows:

 

2.4 Additional payments.
Check one.
IH None. If “None” is checked the rest of § 2.4 need not be completed or reproduced

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $64,880.00.

 

, Treatment of Secured Claims
3.1 Maintenance of payments and cure of default, if any.

Check one.
None. If “None ” is checked the rest of § 3.] need not be completed or reproduced

The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either
by the trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim Will be paid in full through
disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on
a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed below
as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated
below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless
otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured claims based on
that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than

 

 

, by/th€.d¢bt_@rts)» , , t , ,,,. _, , 1 , , ,, w , , , t ,_ , .i _
';Name of Creditor Collateral g Current installment Amount of ' Interest rate y Monthly payment Estimated `
’ ` payment arrearage (if any) on arrearage on arrearage total §
(including escrow) '. , , , l (ifapplicable) . payments by j
;.. . ' c , . . . ,_frqu¢e t.
_ 2371 Fern Street . _ per
UnlOnHOme Portage, lN 46368 Pr€p@tlfl<>nr confirmation
Mortgag€ Porter County $795.75 $7,094.58 0.00% Order $54,839.58
Disbursed by:
Trustee
I:I Debtor(s)
Insert additional claims as needed
3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

m None. If “None ” is checked the rest of § 3.2 need not be completed or reproduced
T he remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

The debtor(s) request that the court determine the value of the secured claims listed below. For each non-governmental secured
claim listed below, the debtor(s) state that the Value of the secured claim should be as set out in the column headed Amount of
secured claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim
listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below. For each
listed claim, the value of the secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5
of this plan. If the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be
treated in its entirety as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the amount of the
creditor’s total claim listed on the proof of claim controls over any contrary amounts listed in this paragraph.

The holder of any claim listed below as having Value in the Column headed Amount of secured claim will retain the lien on the
property interest of the debtor(s) or the estate(s) until the earlier of:

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Debtor Kenneth L. CoonS Case number
Dorothy A. Coons
(a) payment of the underlying debt determined under nonbankruptcy law, or
(b) discharge of the underlying debt under ll U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
Name of Estimated Collateral Value of A“A'mou*nt of Amount of lnterest f Monthly Estimated
creditor amount of collateral claims senior secured claim rate payment to total of
creditor's ' to creditor's creditor monthly
l total claim l , 1 v _ d f claim . ll g payments
2010
Dodge
Cha$e Caravan
Auto 128,000
Finance $3,377.22 miles $2,575.00 $0.00 $2,575.00 4.00% $47.42 $2,845.20
_ used air
N|Icrof, condition-
LLC $1,600.00 er $100.00 $0.00 $100.00 4.00% $1.84 $110.40

 

Insert additional claims as needed
3.3 Secured claims excluded from 11 U.S.C. § 506.

Check one.
None. If “None " is checked the rest of § 3.3 need not be completed or reproduced

3.4 Lien avoidance

Check one.
None. If HNone " is checked the rest of § 3.4 need not be completed or reproduced

3.5 Surrender of collateral.

Check one.
None. lf “None” is checked, the rest of § 3.5 need not be completed or reproduced

 

Treatment of Fees and Priority Claims

4.1 General

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full

without postpetition interest.

4.2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 3.50% of plan payments; and

during the plan term, they are estimated to total $per Statute
4.3 Attorney's fees.

The balance of the fees owed to the attorney for the debtor(s) is estimated to be $3400.00.
4.4 Priority claims other than attorney’s fees and those treated in § 4.5.

Check one.

[:l None. If “None ” is checked the rest of§ 4.4 need not be completed or reproduced
IE] The debtor(s) estimate the total amount of other priority claims to be §0.00

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

Check one.
l§l None. If "None ” is checked the rest of§ 4.5 need not be completed or reproduced

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Chapter 13 Plan

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Dorothy A. Coons

 

Treatment of Nonpriority Unsecured Claims
5.1 Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
providing the largest payment will be effective Check all that apply.

The sum of $

_% of the total amount of these claims, an estimated payment of$ .

The funds remaining after disbursements have been made to all other creditors provided for in this plan.

@i:l§]

lf the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 0.00 .
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.
None. If “None" is checked the rest of § 5.2 need not be completed or reproduced
5.3 Other separately classified nonpriority unsecured claims. Check one.

None. If “None ” is checked the rest of § 5.3 need not be completed or reproduced

 

; ":~ Executorv Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified All other executory
contracts and unexpired leases are rejected. Check one.

I:] None. If “None ” is checked the rest of § 6.] need not be completed or reproduced
Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified
below, subject to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column
includes only payments disbursed by the trustee rather than by the debtor(s).

 

,,Name of Creditor Description of leased 'burr'ent installment Amount of arrearage to be Treatment Estimated v ,
' property or executory q payment paid of arrearage total v
contract (Refer to payments to ;
‘ ~ other plan trustee
section if _ q l
, ' ._ ,. s v c applicable » , t
6627 Portage Ave.,
Kathy Verde Portage, IN $1,100.00 $0.00 $0.00
Disbursed by:
|:] Trustee
l;{l Debtor(s)

Insert additional contracts or leases as needed

 

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon
Check the appliable box.'
plan confirmation
l:] entry of discharge

m other:

Nonstandard Plan Provisions

 

 

8.1 Check "None" or List Nonstandard Plan Provisions
l:] None. lf “None ” is checked the rest of Part 8 need not be completed or reproduced

Under Bankruptcy Rule 3 01 5(0), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Ojj‘icial Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineyfective.

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Dorothy A. Coons

 

The following plan provisions will be ejj”ective only if there is a check in the box “Include/l” in § 1.3.
Chase Auto Finance shall receive $25.00 per month pre-confirmation adequate protection payments.

 

 

 

:°"'"{" Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. T he attorney for Debtor(s),
if any, must sign below,/

X /;¢¢;:f»~"z@§e'f- pate February 28, 2019
Kevin wit s`eh"§"n"aurft”eea-Ie “‘” “"”

Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and

order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.

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